                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                   NORTHERN DIVISION

 BOND PHARMACY, INC., d/b/a AIS
 HEALTHCARE,

           Plaintiff
     v.                                        CIVIL ACTION NO. 3:23-cv-3158-CWR-LGI

 MERRICK GARLAND, in his official
 capacity as the Attorney General of the
 United States, 950 Pennsylvania Avenue,
 NW, Washington, DC 20530-0001;

 U.S. DEPARTMENT OF JUSTICE,
 950 Pennsylvania Avenue, NW,
 Washington, DC 20530-0001;

 ANNE MILGRAM, in her official
 capacity as the Administrator of the
 Drug Enforcement Administration,
 8701 Morrissette Drive, Springfield,
 VA 22152; and

 DRUG ENFORCEMENT
 ADMINISTRATION, 8701 Morrissette
 Drive, Springfield, VA 22152;

           Defendants.

                         PLAINTIFF’S VERIFIED COMPLAINT FOR
                         DECLARATORY AND INJUNCTIVE RELIEF

          Plaintiff Bond Pharmacy, Inc., d/b/a AIS Healthcare (“AIS”), brings this Verified

Complaint for declaratory and injunctive relief against the Honorable Merrick Garland, in his

official capacity as the Attorney General of the United States, the U.S. Department of Justice, the

Honorable Anne Milgram, in her official capacity as Administrator of the Drug Enforcement

Administration (“DEA Administrator”), and the Drug Enforcement Administration (“DEA,”

collectively, “Defendants”), and alleges as follows:


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                                         INTRODUCTION

       1.      This case is a textbook example of government overreach and abuse that, absent

injunctive and declaratory relief, will result in devasting and irreparable harm to a healthcare

provider and the tens of thousands of patients who depend on its specialized and vital care.

       2.      AIS is a specialty compounding pharmacy and home infusion therapy (“HIT”)

provider that develops bespoke medications for chronically ill patients, many of whom suffer

from cancer and spastic conditions such as multiple sclerosis. These vulnerable patients rely on

access to AIS’s medications daily to live their lives pain free and without being opioid-addled,

bed-ridden, or mired in in-patient facilities.

       3.      As part of its care, AIS dispenses – that is, develops and ships – custom

medications for these patients that are filled into their surgically implanted intrathecal pumps and

administered through the pump to the patient’s spinal column on a continuous basis, meaning

24/7/365. With its intrathecal HIT therapy, AIS allows patients to regain control of their lives

and avoid the devastating effects of oral opioids, among other benefits. This form of care also

significantly reduces healthcare costs to payors.

       4.      In the main, AIS dispenses the patient’s medication to a treating physician’s

office for refills. Patients and treating physicians overwhelmingly prefer in-office refills because

of the sterility of a physician’s office and availability of emergency care should any

complications arise.

       5.      Moreover, given these medications are controlled substances packaged in large 20

ml to 50 ml syringes, shipping them to a patient’s doorstep is not a viable option because of the

risks of diversion and possible harm to third-parties. As common sense dictates, these syringes

have no place next to a patient’s packages and mail.



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       6.      Years ago, in 2016, AIS obtained approval from the Defendants to dispense its

medications to physicians’ offices.

       7.      AIS followed that advice, and thus accordingly has dispensed its medications to

physicians for years without issue.

       8.      But with a terse letter dated December 14, 2023, in only a few sentences and

devoid of any explanation or basis, including an effort to explain away its prior advice, the DEA

immediately directed AIS to cease and desist from all distribution of its vital medications to

physician offices from its pharmacy located in Ridgeland, Mississippi.

       9.      In doing so, the DEA did not initiate a show cause proceeding – as required by

law – or provide AIS with any notice, an opportunity to be heard, or any due process whatsoever.

Nor did it even address its earlier, contrary direction to AIS.

       10.     As a result of their summary edict, Defendants have left AIS with a true Hobson’s

choice: stop dispensing critical medications to patients that count on them to live, which will

undermine these patients’ health and well-being and jeopardize AIS’s ability to remain a going

concern, or continue to care for its patients while facing criminal and civil consequences for

doing so.

       11.     Through their conduct, Defendants have violated federal law. Defendants’

attempt to strong-arm AIS out of business and ignore mandatory procedures and requirements

constitute flagrant violations of AIS’s fundamental constitutional rights and basic precepts the

Administrative Procedure Act (“APA”).

       12.     Accordingly, AIS needs immediate injunctive relief to enjoin Defendants from

enforcing their unlawful directive and prevent the imminent and irreparable harm that AIS, its

patients, and the public will suffer absent such necessary and appropriate relief.



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                                            PARTIES

       13.     AIS is incorporated in Mississippi with its principal place of business in

Ridgeland, Mississippi.

       14.     Defendant Merrick Garland is named in his official capacity as the Attorney

General of the United States. Under 21 U.S.C. § 824(d), the Attorney General is given the

authority to “suspend any registration simultaneously with the institution of proceedings under

this section, in cases where he finds that there is an imminent danger to the public health or

safety.”

       15.     The Attorney General has delegated that authority to the DEA Administrator. See

28 C.F.R. § 0.100. The U.S. Department of Justice is an executive department of the United

States. See 5 U.S.C. § 101; 28 U.S.C. § 501. The head of the Department of Justice is the

Attorney General. See 28 U.S.C. § 503.

       16.     Defendant Anne Milgram is named in her official capacity as Administrator of the

DEA. The Attorney General’s authority to suspend or revoke DEA registrations pursuant to 21

U.S.C. § 824(d) has been delegated to her. See 28 C.F.R. § 0.100.

       17.     Defendant DEA is an agency of the U.S. Department of Justice. It was created by

Executive Order 11,727. See 38 Fed. Reg. 18,357 (July 10, 1973).

                                 JURISDICTION AND VENUE

       18.     This Court has jurisdiction over this action under 28 U.S.C. § 1331 because this

action arises under the U.S. Constitution and the APA.

       19.     Venue is proper in this Court under 28 U.S.C. § 1391(e) because this is an action

against officers and agencies of the United States and a substantial part of the events giving rise




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to AIS’s claims occurred in this judicial district. The DEA letter was issued from an office in

this District.

        20.      This Complaint is timely under 28 U.S.C. § 2401(a).

                                    FACTUAL ALLEGATIONS

        AIS Provides Specialized HIT Services To Critically Ill And Vulnerable Patients

        21.      AIS is a licensed compounding pharmacy and healthcare provider, registered with

the DEA, that provides specialty home infusion therapy (“HIT”) and related services.

        22.      HIT is the creation, dispensing, and infusing of medication by non-oral means.

        23.      Under this therapy, patients receive a continuous, daily treatment at home – as

opposed to an in-patient, hospital setting – and can resume normal lifestyles and work activities

while recovering from illness.

        24.      If HIT were not available, these patients would either have to take mind-addling

oral opioids (and be exposed to their potentially devastating side-effects), or live out their days in

an in-patient treatment facility.

        25.      HIT is typically prescribed for patients who have serious and abiding illnesses

such as chronic pain resulting from cancer, spinal cord injuries, multiple sclerosis, or other

debilitating conditions. It is also a “last-line” therapy because all other therapies have failed to

treat a patient’s condition.

        26.      AIS operates in a specialized area of HIT. It develops and dispenses patient-

specific compounded pain medications at the direction of a patient’s treating physician that are

continuously infused via implanted intrathecal pumps.

        27.      These pumps, which are prescribed by a patient’s treating physician, are

surgically implanted under the patient’s skin and filled with medication that the pump



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administers through a catheter to the spinal column wherever the patient is located, as the

following illustration shows:




                                                                                 1


       28.     Intrathecal pumps can administer a patient’s medication daily for up to 180 days

before needing to be refilled.

       29.     The medications used for intrathecal pumps have to be specially prepared for each

patient to remain stable, sterile, and effective for up to 180 days between refills. Indeed, it takes

weeks for AIS to compound the medications because of the complex sterility procedures and

testing it must undertake eliminate all impurities.

       30.     These medications are not readily available from retail commercial pharmacies;

they must be developed for each patient in sterile environments and using specialized and highly

technical procedures.

       31.     Thus, AIS’s patients cannot readily obtain the same medications from retail

pharmacies or even competitors. Indeed, AIS is one of the largest intrathecal HIT providers in


1
  Mayfield Clinic, Pain Pump, at 1, https://d3djccaurgtij4.cloudfront.net/pe-pain-pump.pdf (last
visited December 15, 2023).

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the country and, unlike other providers, cares for patients in all 50 states who count on continued

access to its therapy.

       32.     But AIS does more than develop custom medications. AIS provides all patients

with access to a host of ongoing care and services, such as clinical services, coordination of

patient care, nursing services, and billing support services.

       33.     Critically, a patient’s intrathecal pump must remain filled with medication at all

times. Without the medication, the pump will not properly operate. They are designed to have

medication flowing through them at all times.

       34.     Without consistent access to intrathecal compounded medications, patients will

remain in constant pain and misery – all of which intrathecal HIT is specifically designed to treat

– and at risk of other serious medical complications

       35.     Patients with a dry pump may face serious harm – even death.

       36.     When a pump runs dry, a patient can go into severe withdrawal and suffer other

significant and harmful side effects.

       37.     For example, a patient suffering from multiple sclerosis can lose control of

spasticity that would otherwise be treated with AIS’s therapy, leading to possible seizures and

strokes.

       38.     Moreover, without access to AIS’s medications, these patients will have to revert

back to in-patient care, losing access to the physical freedoms associated with having their

treatment and therapy follow them wherever they may go.




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                                   The Controlled Substances Act

        39.     The Controlled Substances Act (“CSA”) establishes controls and restrictions on

the import, export, manufacture, and distribution of controlled substances. 21 U.S.C. § 801 et

seq.; id. § 95l et seq.; 21 C.F.R. Part 1300 et seq.

        40.     The DEA is tasked with enforcing the CSA in a balanced manner that prevents the

diversion of controlled substances from legitimate channels while ensuring their availability for

legitimate medical purposes. See 76 Fed. Reg. 39,318 (July 6, 2011).

        41.     The CSA requires all persons who dispense controlled substances to obtain a

registration from the Attorney General. See 21 U.S.C. § 822(a).

        42.     The Attorney General has delegated this registration authority to the DEA. See 28

C.F.R. § 0.100.

        43.     For a specialty pharmacy, such as AIS, this registration authorizes the pharmacy

to dispense certain controlled substances.

        44.     Under the CSA’s regulations, “[a] prescription for a controlled substance may

only be filled by a pharmacist, acting in the usual course of his professional practice and either

registered individually or employed in a registered pharmacy, a registered central fill pharmacy,

or registered institutional practitioner.” 21 C.F.R. § 1306.06.

        45.     The administration and dispensing of narcotic drugs is further governed by 21

C.F.R. § 1306.07.

        46.     From July 25, 2005, to October 29, 2020, 21 C.F.R. § 1306.07 did not specifically

address whether a pharmacy was permitted to dispense controlled substances to a treating

physician, instead of directly to a patient.




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          47.       On October 30, 2020, 21 C.F.R. § 1306.07 was amended to include subsection (f),

which is still present in the regulation today.

          48.       In relevant part, 21 C.F.R. § 1306.07(f) states “a pharmacy may deliver a

controlled substance to a practitioner . . . if”:

                x   “(1) The controlled substance is delivered by the pharmacy to the prescribing
                    practitioner or the practitioner administering the controlled substance,” and

                x   “(2) The controlled substance is to be administered for the purpose of
                    maintenance or detoxification treatment”; and

                          (i) “The practitioner . . . is a qualifying practitioner”; and

                          (ii) “The controlled substance is to be administered by injection or
                           implantation”;

                x   (3) The pharmacy and the practitioner are authorized to conduct such activities
                    specified in this paragraph (f) under the law of the State in which such activities
                    take place.”

          49.       Thus, as the regulation makes clear on its face, the purpose is to ensure patients

receive oversight and care while controlled substances and related treatments are administered.

See id.

          50.       Under the CSA, the DEA can revoke, restrict, or suspend a registration upon a

finding that the registrant has, among other things, “committed such acts as would render his

registration . . . inconsistent with the public interest.” 21 U.S.C. § 824(a)(4).

          51.       Alternatively, a registration may be immediately suspended upon a finding that

there “is an imminent danger to the public health or safety” evidenced by a “substantial

likelihood of an immediate threat that death, serious bodily harm, or abuse of a controlled

substance will occur in the absence of an immediate suspension of the registration.” 21 U.S.C.

§ 824(d).




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         52.      But prior to revoking or restricting a DEA registration, the agency must follow

mandatory procedures designed to provide a registrant with notice and an opportunity to be

heard.

         53.      The DEA must issue an order to show cause setting forth the basis for the

agency’s proposed action, providing notice of the opportunity for the registrant to submit a

corrective action plan, and providing the registrant with the opportunity to request a hearing. See

id. § 824(c)(1)-(2).

         54.      At such a hearing, the agency has the burden of proving by a preponderance of the

evidence that registration is inconsistent with the public interest. See 21 C.F.R. § 1301.44(d).

         55.       For immediate suspensions under Section 824(d), the order “shall contain a

statement of . . . findings regarding the danger to public health or safety.” 21 C.F.R.

§ 1301.36(e).

         56.      The DEA must comply with established procedures and protocols before acting to

revoke or restrict a DEA registration or related actions. See 21 U.S.C. §§ 824(c)(1)-(2) & (d); 21

C.F.R. § 1301.44(e).

               The DEA Confirms That AIS’s Dispensing Of Compounded Medications
                      To Treating Physicians Is Permissible Under The CSA

         57.      On October 9, 2015, counsel for AIS contacted the DEA to clarify whether a

pharmacy – such as AIS – may deliver controlled substances to a treating physician, instead of

directly to a patient, for refills under certain circumstances under the CSA. Exhibit (“Ex.”) A.

         58.      AIS proactively sought guidance from the DEA because the CSA did not address

such a scenario.

         59.      AIS wanted to ensure it fully complied with all applicable laws and regulations

while providing its therapy and services.


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       60.       The DEA responded to AIS’s request on July 12, 2016. See id.

       61.       In its response, the DEA confirmed that “[n]either the CSA nor DEA regulations

specifically address” delivering controlled substances to a treating physician under certain

circumstances. Id.

       62.       Nevertheless, the DEA confirmed that AIS’s proposed practice of dispensing its

medications to treating physicians fully complied with the CSA.

       63.       The DEA used the following scenario to evaluate AIS’s inquiry:

             x   “A DEA-registered practitioner, acting in the usual course of his/her professional
                 practice, issues a prescription for a controlled substance for a legitimate medical
                 purpose, and the prescription complies in all other respects with the DEA
                 regulations.

             x   The practitioner determines, in the exercise of his/her sound medical discretion,
                 that it is appropriate for the practitioner to administer the controlled substance
                 directly to the patient at the practitioner’s registered location.

             x   The prescription is for a single dose of the controlled substance for a particular
                 patient – not a take-home supply for that patient and not for the practitioner’s
                 office stock.

             x   The practitioner indicates on the prescription that the controlled substance should
                 be delivered by the pharmacy to the practitioner, at his/her registered location, for
                 administration to the patient.

             x   The above activity is carried out in compliance with applicable State law and
                 regulations.” Id.

       64.       Applying the scenario under which AIS would deliver its compounded

medications to a treating physician, the DEA made clear that it “would consider it permissible

under the CSA and DEA regulations for [AIS] to deliver the controlled substance to the

practitioner, at his/her registered location,” provided the following conditions are met:

             x   “The pharmacy treats its actions as dispensing for purposes of the CSA and DEA
                 regulations and complies with all applicable requirements thereunder,” id.; and




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             x   “The practitioner treats his/her actions as administering for purposes of the CSA
                 and DEA regulations and complies with all applicable requirements thereunder,”
                 id.

       65.       Following the DEA’s confirmation, AIS adhered to the DEA’s directive.

       66.       AIS shipped patient medications to their treating physicians for refills for years

without issue in compliance with the DEA’s conditions and directive.

       67.       Indeed, despite further routine inspections from the DEA and other boards and

agencies, they never once raised any concerns or issues with AIS’s dispensing practices to

practitioners or compliance with the CSA or found AIS failed to comply with the DEA’s

direction.

 The DEA Improperly, Without Basis, And Contrary To Its Earlier Direction, Demands AIS
                   Cease And Desist Dispensing Of Its Medications

       68.       On November 2, 2023, the DEA Jackson District Office conducted an on-site

inspection of AIS.

       69.       The inspection itself was standard and routine. During the inspection, the DEA

explained that it did not uncover any issues or concerns related to AIS’s operations and

procedures.

       70.       Nevertheless, on December 14, 2023, the DEA – out of the blue – served a letter

on AIS (dated December 12, 2023). Ex. B.

       71.       In the letter, the DEA claimed that, during its latest inspection, it “learned” that

AIS had been “providing patient specific pain medications” to treating physician offices – even

though AIS had been dispensing its medications to physicians for refills for years, as the DEA

knew and previously approved. Id.; see also Ex. A.

       72.       Notably, the DEA did not state or find that AIS had been doing so inconsistently

with its previously-stated conditions and direction.


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       73.     The DEA then quoted 21 C.F.R. § 1306.07(f) without expressly stating whether or

not AIS was in compliance with the regulation.

       74.     After quoting the regulation in the one-page letter, and without any further notice,

explanation, or opportunity for AIS respond, the DEA demanded AIS to “cease and desist any

further shipments of its compounded medications directly to [treating physicians]” of AIS

patients from its Ridgeland-based pharmacy. Ex. B.

       75.     The Ridgeland, Mississippi pharmacy is AIS’s most active pharmacy and

dispenses the largest volume of AIS’s medications to patients across the United States.

       76.     AIS cannot remain a going concern and meet its patients’ medical needs if the

Ridgeland pharmacy is shut down, even temporarily.

       77.     The DEA did not issue an order to show cause setting forth the basis for

demanding AIS to cease and desist its pharmacy shipments or afford AIS the right to request a

hearing, as required under the CSA. 21 U.S.C. § 824(c)(1)-(2).

       78.     Nor did the DEA establish at a hearing, and by a preponderance of the evidence

find, that AIS had violated the CSA and regulations – which it must do under the CSA. See id.;

21 C.F.R. § 1301.44(d).

       79.     Within an hour of receiving the DEA’s correspondence, AIS contacted the agency

by telephone in hopes of amicably resolving the issue.

       80.     Counsel for AIS further contacted the agency, alerting them to the fact that it

intended to seek preliminary relief should the agency refuse to engage or withdraw its directive.

See Exs. C & D.

       81.     But the DEA never responded.




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                       Defendants’ Unlawful Conduct Threatens Severe And
                      Irreparable Harm To AIS, Its Patients, And The Public

       82.      Defendants’ unilateral and unlawful directive to force AIS to shut down its

dispensing operations is already causing severe and irreparable harms and threatening to cause

more catastrophic harms if it cannot be resolved soon.

       83.      Defendants’ directive has prevented AIS from providing vital and critical

medications and services to current patients in Mississippi and across the United States.

       84.      And if it remains in place, thousands of chronically ill and vulnerable patients will

be unable to receive the benefits of AIS’s therapy and care and face serious harm – and possibly

death – should their pumps run dry.

       85.      AIS’s patients will likely suffer significant harm, including pain, withdrawal,

seizures, and strokes, or even die if their medications are not delivered and their pumps are not

refilled. Even just a few days of halting dispensing operations means hundreds of patients will

go without their medications; by next week, it will be thousands.

       86.      AIS serves tens of thousands of patients, who cannot simply switch to another

provider on a moment’s notice. Nor can their treating physicians.

       87.      Defendants have further undertaken a final agency action without complying with

any of the mandatory procedures, including but not limited to the DEA’s own hearing and notice

requirements.

       88.      And in doing so, Defendants have further directly contradicted their own directives

and past approvals of AIS’s dispensing practices and operations – all of which they knew and

approved of for years.




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          89.   Defendants have also deprived AIS of its constitutional right to due process by

denying it any opportunity to be heard or challenge Defendants’ unlawful conduct while at the

very same time depriving AIS of its protectable property interests.

          90.   Moreover, by preventing AIS from dispensing its medications from its primary

pharmacy, the company cannot remain a going concern if it cannot dispense and provide its

medications and therapy to its existing and future patients.

          91.   And if AIS cannot provide patients with their medications and services, AIS’s

relationships with its patients will be jeopardized, and it will suffer concomitant harm to its

goodwill, reputation, financial position, and market and competitive position. It will also likely

fall in breach of its loan covenants, further exacerbating an untenable financial position.

          92.   These harms are all irreparable, and AIS lacks any adequate remedy at law.

          93.   AIS has tried amicably to resolve the parties’ dispute to no avail.

          94.   Left with no other option, AIS reluctantly turns to this Court to force Defendants to

comply with federal law. Without judicial relief, AIS will continue to suffer grave and

irreparable harms.

                                       CAUSES OF ACTION

                                             COUNT I
          (Violation Of 5 U.S.C. § 706(2)(A) – Arbitrary And Capricious Agency Action)

          95.    AIS re-alleges and incorporates Paragraphs 1 through 92 as if fully set forth

herein.

          96.    The DEA’s December 14, 2023 directive – as approved and directed by

Defendants – is a final agency action made reviewable by 5 U.S.C. § 706(2) and 21 U.S.C.

§ 824(d).

          97.    AIS is adversely affected and aggrieved by the directive.


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          98.    Defendants’ decision to issue its directive for AIS to cease and desist shipments

of its compounded medications “directly to the practitioner” is arbitrary and capricious.

          99.    Defendants failed to engage in reasoned decision-making; to consider important

aspects of the problem they believed they faced; to reasonably (or at all) explain their departure

from DEA’s established past policy and rule interpretation; to consider more narrowly tailored

remedies and the impact that the letter would have on the public health; and to provide an

adequate explanation for their decision.

          100.   As a result, the directive is arbitrary, capricious, and otherwise not in accordance

with the law in violation of 5 U.S.C. § 706(2)(A).

          101.   AIS has suffered and will continue to suffer irreparable harm as a result of

Defendants’ violations of 5 U.S.C. § 706(2)(A).

          102.   AIS is entitled to injunctive and declaratory relief to remedy Defendants’

unlawful conduct, as well as all other relief as set forth in its Prayer for Relief. See 5 U.S.C.

§ 705.

                                         COUNT II
      (Violation Of 5 U.S.C. § 706(2)(B) – Agency Action In Violation Of Due Process)

          103.   AIS re-alleges and incorporates Paragraphs 1 through 92 as if fully set forth

herein.

          104.   The DEA’s December 14, 2023 directive – as approved and directed by

Defendants – is a final agency action made reviewable by 5 U.S.C. § 706(2) and 21 U.S.C.

§ 824(d).

          105.   AIS is adversely affected and aggrieved by Defendants’ directive.




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          106.   The directive denied AIS prior notice of the allegations against it and a

meaningful opportunity to contest those allegations prior to Defendants’ directive immediately to

cease and desist shipments of its compounded medications “directly to the practitioner.”

          107.   Depriving AIS of prior notice and a hearing was not necessary to further any

government interest, deprived AIS’s due process rights afforded by law and the U.S.

Constitution, and impaired AIS’s property interest in its DEA registration.

          108.   Accordingly, the directive is contrary to AIS’s constitutional rights, power, and

privilege in violation of 5 U.S.C. § 706(2)(B).

          109.   AIS has suffered and will continue to suffer irreparable harm as a result of

Defendants’ violations of 5 U.S.C. § 706(2)(B).

          110.   AIS is entitled to injunctive and declaratory relief to remedy Defendants’

unlawful conduct, as well as all other relief as set forth in its Prayer for Relief. See 5 U.S.C.

§ 705.

                                        COUNT III
   (Violation Of 5 U.S.C. § 706(2)(C) – Agency Action In Excess Of Statutory Authority)

          111.   AIS re-alleges and incorporates Paragraphs 1 through 92 as if fully set forth

herein.

          112.   The DEA’s December 14, 2023 directive – as approved and directed by

Defendants – is a final agency action made reviewable by 5 U.S.C. § 706(2) and 21 U.S.C.

§ 824(d).

          113.   AIS is adversely affected and aggrieved by the directive.

          114.   The directive is not authorized pursuant to 21 U.S.C. § 824(a) because Defendants

failed to issue a show cause order.




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          115.   The directive is not authorized pursuant to 21 U.S.C. § 824(d) because

Defendants did not demonstrate that AIS must stop shipments of its compounded medications

“directly to the practitioner” to prevent “imminent danger to the public health or safety.”

          116.   Defendants accordingly did not have the statutory authority to issue their

directive.

          117.   The directive to cease and desist also exceeds Defendants’ statutory jurisdiction

under 21 U.S.C. §§ 824(a) & (d).

          118.   As a result, the directive is in excess of statutory authority, jurisdiction, and

limitations, in violation of 5 U.S.C. § 706(2)(C).

          119.   AIS has suffered and will continue to suffer irreparable harm as a result of

Defendants’ violations of 5 U.S.C. § 706(2)(C).

          120.   AIS is entitled to injunctive and declaratory relief to remedy Defendants’

unlawful conduct, as well as all other relief as set forth in its Prayer for Relief. See 5 U.S.C.

§ 705.

                                        COUNT IV
  (Violation Of 5 U.S.C. § 706(2)(D) – Agency Action Without Observance Of Procedure
                                    Required by Law)

          121.   AIS re-alleges and incorporates Paragraphs 1 through 92 as if fully set forth

herein.

          122.   The DEA’s December 14, 2023 directive – as approved and directed by

Defendants – is a final agency action made reviewable by 5 U.S.C. § 706(2) and 21 U.S.C.

§ 824(d).

          123.   AIS is adversely affected and aggrieved by the directive.




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       124.     A registration granted under 21 U.S.C. § 823 may be suspended upon a finding

that the registrant “failed to comply with any standard referred to in 21 U.S.C. § 823(h)(1)[.]” 21

U.S.C. § 824(a).

       125.     Prior to taking action under 21 U.S.C. § 824(a), a registrant must be served an

order to show cause why registration “should not be denied, revoked, or suspended.” 21 U.S.C.

§ 824(c)(1).

       126.     A registration granted under 21 U.S.C. § 823 may be immediately suspended

under Section 824(d) upon a finding that there “is an imminent danger to the public health or

safety” evidenced by a “substantial likelihood of an immediate threat that death, serious bodily

harm, or abuse of a controlled substance will occur in the absence of an immediate suspension of

the registration.” 21 U.S.C. § 824(d).

       127.     An order under 21 U.S.C. § 824(d) suspending a registrant “shall contain a

statement of . . . findings regarding the danger to public health or safety.” 21 C.F.R.

§ 1301.36(e).

       128.     The directive was not accompanied by an order to show cause or a statement of

findings regarding the danger to public health or safety posed by shipments of AIS’s

compounded medications “directly to the practitioner.”

       129.     Thus, the directive was issued “without observance of procedure required by law”

in violation of 5 U.S.C. § 706(2)(D).

       130.     AIS has suffered and will continue to suffer irreparable harm as a result of

Defendants’ violations of 5 U.S.C. § 706(2)(D).




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          131.   AIS is entitled to injunctive and declaratory relief to remedy Defendants’

unlawful conduct, as well as all other relief as set forth in its Prayer for Relief. See 5 U.S.C.

§ 705.

                                           COUNT V
                       (Violation Of Due Process – U.S. CONST. AMEND. V)

          132.   AIS re-alleges and incorporates Paragraphs 1 through 92 as if fully set forth

herein.

          133.   The DEA’s December 14, 2023 directive – as approved and directed by

Defendants – is a final agency action made reviewable by 5 U.S.C. § 706(2) and 21 U.S.C.

§ 824(d).

          134.   AIS is adversely affected and aggrieved by the directive.

          135.   The Fifth Amendment forbids the deprivation of “life, liberty, or property without

due process of law.”

          136.   AIS possesses a property interest in its DEA registration.

          137.   Defendants issued the directive to AIS without providing an order to show cause

or a statement of findings regarding the danger to public health or safety posed by shipments of

AIS’s compounded medications “directly to the practitioner.”

          138.   Accordingly, Defendants violated AIS’s due process rights by failing to afford it

adequate procedural rights before issuing the directive, thereby constructively revoking and/ or

suspending AIS’s DEA registration.

          139.   AIS has suffered and will continue to suffer irreparable harm as a result of

Defendants’ violation of its constitutional rights.

          140.   AIS is entitled to injunctive and declaratory relief to remedy Defendants’

unlawful conduct, as well as all other relief as set forth in its Prayer for Relief.


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                                            COUNT VI
                                      (Declaratory Judgment)

          141.   AIS re-alleges and incorporates Paragraphs 1 through 92 as if fully set forth

herein.

          142.   The DEA’s December 14, 2023 directive is a final agency action made reviewable

by 5 U.S.C. § 706(2) and 21 U.S.C. § 824(d).

          143.   AIS is adversely affected and aggrieved by the directive.

          144.   An actual controversy has arisen and exists between AIS and Defendants

regarding Defendants’ directive that AIS to “cease and desist any further shipments directly to

the practitioner.”

          145.   AIS requests a declaration from this Court under 28 U.S.C. § 2201 that

Defendants’ directive is unlawful, violates federal law, and violates AIS’s constitutional rights.

                                     PRAYER FOR RELIEF

          WHEREFORE, Plaintiff AIS prays that this Court:

          1.     Declare that:

                 x    Defendants’ directive and issuance of the same is arbitrary and capricious in
                      violation of 5 U.S.C. § 706(2)(A);

                 x    Defendants have violated AIS’s due process rights in violation of 5 U.S.C.
                      § 706(2)(B) by issuing their cease and desist directive;

                 x    Defendants have acted in excess of statutory authority in violation of 5
                      U.S.C. § 706(2)(C) by issuing their cease and desist directive;

                 x    Defendants have unlawfully acted without observing and complying with
                      mandatory procedures in violation of 5 U.S.C. § 706(2)(D) by issuing their
                      cease and desist directive; and

                 x    Defendants have violated AIS’s constitutional rights in violation of U.S.
                      Const. Amend. V by issuing their cease and desist directive.




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      2.     An injunction:

             x      Preliminarily and permanently enjoining Defendants from revoking,
                    limiting, or others interfering with AIS’s DEA registration;

             x      Preliminarily and permanently enjoining Defendants from directing and/ or
                    ordering AIS to cease and desist from, or otherwise interfering in any way
                    with, AIS’s dispensing of medications to treating physicians; and

             x      Directing Defendants to withdraw the cease and desist directive.

      3.     Award AIS its reasonable attorney’s fees and costs as appropriate.

      4.     Grant such other further relief as this Court deems just and proper.

Dated: December 15, 2023                     Respectfully submitted,

                                             /s/ Michael Casey Williams
                                             J. William Manuel (MSB 9891)
                                             Michael Casey Williams (MSB 104537)
                                             Christina M. Seanor (MSB 104934)
                                             Bradley Arant Boult Cummings, LLP
                                             One Jackson Place
                                             188 East Capitol Street, Suite 1000
                                             Jackson, MS 39215-1789
                                             Telephone: (601) 948-8000
                                             Facsimile: (601) 948-3000
                                             wmanuel@bradley.com
                                             mcwilliams@bradley.com
                                             cseanor@bradley.com

                                             Counsel for Plaintiff AIS Healthcare




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                                       DECLARATION

       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury under the laws of the

United States of America that the factual statements contained in the Verified Complaint related

to Plaintiff Bond Pharmacy, d/b/a AIS Healthcare, are true and correct to the best of my

knowledge and belief.




                                                                                  Ross Kamm
                                                                       Chief Financial Officer
                                                           Bond Pharmacy, d/b/a AIS Healthcare



                                                                Executed on: December 15, 2023




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